                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, et. al,          )
                                    )
                  Plaintiffs,       )
                                    )
      v.                            )                 Civil Action No. 1:18-cv-02921 (JMF)
                                    )
UNITED STATES DEPARTMENT            )
OF COMMERCE, et. al,                )
                                    )
                  Defendants.       )
___________________________________ )


  PUBLIC INTEREST LEGAL FOUNDATION’S MEMORANDUM IN SUPPORT OF
              MOTION FOR LEAVE TO FILE AMICUS BRIEF

       Non-party, the Public Interest Legal Foundation, pursuant to Federal Rule of Civil

Procedure 7(b)(1), respectfully requests leave to file the accompanying amicus brief in

opposition to Plaintiffs’ request for a declaration that Defendants’ decision to add a citizenship

demand to the 2020 Decennial Census is not in accordance with the law, is beyond statutory

authority, and is arbitrary and capricious. (Doc. 214 at 57.) Defendants consent to the

Foundation’s Motion for Leave. Plaintiffs do not consent.

       The Public Interest Legal Foundation, Inc., (the “Foundation”) is a non-partisan, public

interest organization incorporated and based in Indianapolis, Indiana. The Foundation’s mission

is to promote the integrity of elections nationwide through research, education, remedial

programs, and litigation. The Foundation also seeks to ensure that voter qualification laws and

election administration procedures are followed. Specifically, the Foundation seeks to ensure that

the nation’s voter rolls are accurate and current, working with election administrators nationwide

and educating the public about the same. The Foundation’s President and General Counsel, J.

Christian Adams, served as an attorney in the Voting Section at the Department of Justice. Mr.

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Adams has been involved in multiple enforcement actions under the Voting Rights Act and has

brought dozens of election cases relying on Census population data. Additionally, one of the

members of the Foundation’s Board of Directors, Hans von Spakovsky, served as counsel to the

assistant attorney general for civil rights at the Department of Justice, where he provided

expertise in enforcing the Voting Rights Act and the Help America Vote Act of 2002, as well as

a commissioner on the Federal Election Commission. The Foundation believes that its brief—

drawing from the expertise of the Foundation’s counsel and the Foundation’s experience itself—

will aid in the Court’s consideration of the purpose of collecting citizenship data in the decennial

Census.

                                             STANDARD

        “’There is no governing standard, rule or statute ‘prescrib[ing] the procedure for

obtaining leave to file an amicus brief in the district court.’” C&A Carbone, Inc. v. County. of

Rockland, No. 08-cv-6459-ER, 2014 U.S. Dist. LEXIS 38658, at *12 (S.D.N.Y. Mar. 24, 2014)

(quoting Onondaga Indian Nation v. State, No. 97-CV-445, 1997 U.S. Dist. LEXIS 9168, 1997

WL 369389, at *2 (N.D.N.Y. June 25, 1997)). Therefore, “[r]esolution of a motion for leave to

file an amicus brief thus lies in the ‘firm discretion’ of the district court.” Id. (references

omitted); see also United States v. Ahmed, 788 F. Supp. 196, 198 n.1 (S.D.N.Y. 1992) (“District

courts have broad discretion to permit or deny the appearance of amici curiae in a given case.”)

“The usual rationale for amicus curiae submissions is that they are of aid to the court and offer

insights not available from the parties.” Auto. Club of N.Y., Inc. v. Port Auth., 2011 U.S. Dist.

LEXIS 135391, at *6 (S.D.N.Y. Nov. 22, 2011) (citations omitted).

        As explained by Judge Alito:

        A restrictive policy with respect to granting leave to file may . . . create at least the
        perception of viewpoint discrimination. Unless a court follows a policy of either

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       granting or denying motions for leave to file in virtually all cases, instances of
       seemingly disparate treatment are predictable. A restrictive policy may also convey
       an unfortunate message about the openness of the court.

Neonatology Assocs., P.A. v. Commissioner, 293 F.3d 128, 133 (3d Cir. 2002).

                                           ARGUMENT

       Plaintiffs seek a declaration that the Defendants’ reinstatement of the citizenship question

is not in accordance with the law, is beyond statutory authority, and is arbitrary and capricious.

This case and the five similar cases across the country that also challenge the reinstatement of the

citizenship question have garnered national attention and interest. That the Decennial Census is

of utmost public interest is evidenced by the motions for leave to file amicus briefs which have

already been granted by this Court. See Andersen v. Leavitt, No. 03-cv-6115 (DRH) (ARL), 2007

U.S. Dist. LEXIS 59108, at *7 (E.D.N.Y. Aug. 13, 2007) (“‘[t]he court is more likely to grant

leave to appear as an amicus curiae in cases involving matters of public interest’”) (quoting 4

Am. Jur. 2d Amicus Curiae § 3.)

       The Foundation, with its unique interests and expertise, is able to aid the Court in the

resolution of Plaintiffs’ request by offering specific insights that the parties are unable or

unwilling to provide. Auto. Club of N.Y., Inc., 2011 U.S. Dist. LEXIS 135391 at *6. The

Foundation’s brief will not be a duplication of the briefs submitted by the parties. The

Foundation’s brief provides arguments that the Defendants did not make. Specifically, in its

proposed amicus brief, the Foundation covers the following relevant issues that have not been

briefed by the Defendants:

       1) Citizenship data from the 1950 Census was critical to a recent finding of a violation
          of the right to vote;

       2) How citizenship data is used in the enforcement of the Voting Rights Act;

       3) How citizenship data will assist in the private enforcement of federal law.

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        Further, the Foundation’s motion is timely. The parties are presently conducting

discovery. The Foundation’s brief raises issues that are relevant to this ongoing discovery.

Granting the Foundation’s motion for leave will not cause any delay in the litigation. See

Andersen v. Leavitt, 2007 U.S. Dist. LEXIS 59108.

                                             CONCLUSION

        The Foundation believes its brief will be helpful to the Court in resolving the Plaintiffs’

request for declaratory relief in their Complaint. Accordingly, the Foundation respectfully

requests leave to file the attached brief.



Respectfully submitted on August 24, 2018,


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